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1    BENJAMIN B. WAGNER
     United States Attorney
2    MATTHEW C. STEGMAN
     MICHAEL D. ANDERSON
3    Assistant U.S. Attorneys
     501 I Street, Suite 10-100
4    Sacramento, California 95814
     Telephone: (916) 554-2700
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7
8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )   CASE NO. 09-CR-0074 JAM
                                         )
12                      Plaintiff,       )
                                         )   APPLICATION FOR ORDER FOR
13   v.                                  )   DISCLOSURE OF RETURNS AND
                                         )   RETURN INFORMATION TO
14   DUANE ALLEN EDDINGS,                )   DEFENDANT FOR PREPARATION FOR
                                         )   TRIAL AND ORDER
15                      Defendant.       )
                                         )
16                                       )
17
18        The UNITED STATES OF AMERICA, under Title 26, United States
19   Code, Section 6103, obtained tax returns and return information
20   from the Internal Revenue Service through an Ex Parte Order from
21   the Court relating to Duane Allen Eddings, Loretta C. Baldwin-
22   Eddings, CDC Global Inc., Wise Investors Simply Excel, LLC, and
23   Living in Faith Everyday, LLC.
24        The Court ordered that no disclosure be made to any other
25   persons, other than applicants, in accordance with the provisions
26   of 26 U.S.C. § 6103.
27        Since obtaining the returns and return information, a grand
28   jury has returned an indictment in the above entitled case,
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1    charging Mail Fraud, Wire Fraud, Money Laundering, and Tax
2    Evasion.   The obtained tax returns and return information are
3    relevant for trial, and pursuant to Rule 16, must be discovered
4    to the defendant.    The government, therefore, is requesting an
5    order from this Court to allow such disclosure, pursuant to 26
6    U.S.C. § 6103(i)(4), which authorizes a district court to order
7    disclosure of returns and return information in judicial or
8    administrative proceedings:
9         (A) Returns and taxpayer return information
          Except as provided in subparagraph (C), any return or
10        taxpayer return information obtained under paragraph
          (1) or (7)(C) may be disclosed in any judicial or
11        administrative proceeding pertaining to enforcement of
          a specifically designated Federal criminal statute or
12        related civil forfeiture (not involving tax
          administration) to which the United States or a Federal
13        agency is a party...
14        (ii) to the extent required by order of the court
          pursuant to section 3500 of title 18, United States
15        Code, or rule 16 of the Federal Rules of Criminal
          Procedure.
16
17        Since the returns and return information obtained must be
18   turned over to the defendant in discovery pursuant to Rule 16,
19   the government requests the Court order disclosure of returns and
20   return information obtained by the government in its
21   investigation to defendant Duane Allen Eddings.
22   Dated: July 8, 2011                     Respectfully submitted,
23                                           BENJAMIN B. WAGNER
                                             United States Attorney
24
25                                     By:    /s/ Matthew Stegman
                                             MATTHEW STEGMAN
26                                           Assistant U.S. Attorney
27
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                                         2
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1    BENJAMIN B. WAGNER
     Acting United States Attorney
2    MATTHEW C. STEGMAN
     MICHAEL D. ANDERSON
3    Assistant U.S. Attorneys
     501 I Street, Suite 10-100
4    Sacramento, California 95814
     Telephone: (916) 554-2700
5
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8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )   CASE NO. 09-CR-0074 JAM
                                         )
12                      Plaintiff,       )
                                         )                ORDER
13   v.                                  )
                                         )
14   DUANE ALLEN EDDINGS,                )
                                         )
15                      Defendant.       )
                                         )
16                                       )
17
          The Court has received and considered the Application of the
18
     United States for an order for disclosure of returns and return
19
     information to defendant for preparation for trial, pursuant to
20
     Title 26, United States Code, Section 6103(i), and finds that the
21
     returns and return information is to be used in a federal
22
     criminal trial, and discoverable to the defendant under the
23
     Federal Rules of Criminal Procedure, Rule 16.
24
          IT IS, THEREFORE, ORDERED THAT:
25
          (1) The United States may disclose such returns and return
26
     information it has in its possession of Duane Allen Eddings,
27
     Loretta C. Baldwin-Eddings, CDC Global Inc., Wise Investors
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1    Simply Excel, LLC, and Living in Faith Everyday, LLC.
2         (2) The defendant shall use the returns and return
3    information disclosed solely in preparing the matter for trial
4    and at trial, and that no disclosure be made to any other person
5    except in accordance with the provisions of Title 26, United
6    States Code, Section 6103.
7    DATED: 7/11/2011
8                                      /s/ John A. Mendez
                                       JOHN A. MENDEZ
9                                      United States District Judge
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